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12                                   UNITED STATES DISTRICT COURT
13                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                                              )
15
      Pangea Legal Services, et al.,                          )
16                                                            )
                         Plaintiffs,                          )
17                                                            )
      v.                                                      )        Civil Action No. 3:20-cv-7721-SI
18
                                                              )
19    U.S. Dept. of Homeland Security, et al.,                )
                                                              )
20                       Defendants.                          )
                                                              )
21
22                           NOTICE OF FILING OF ADMINISTRATIVE RECORD

23             Defendants, by and through undersigned counsel, hereby submit the administrative record
24
     for Procedures for Asylum and Bars to Asylum Eligibility, 85 Fed. Reg. 67,202 (Oct. 21, 2020)
25
     (Rule). The record, certified by the relevant officials at the Departments of Homeland Security and
26
27   Justice, contains or references all materials—to the best of the certifiers’ knowledge, information,

28   and belief—considered by the decisionmakers at the Departments, in issuing the Rule. The




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     certifications, index, and full administrative record are submitted as exhibits to this notice.
 1
 2                                                            Respectfully submitted,
 3
 4                                                            JEFFREY BOSSERT CLARK
                                                              Acting Assistant Attorney General
 5
                                                           By: /s/ Christina Greer
 6
                                                              CHRISTINA GREER
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11
12   Dated: November 10, 2020                                 Attorneys for Defendants

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                                                 CERTIFICATE OF SERVICE
 1
 2             I hereby certify that on November 10, 2020, I electronically filed the foregoing document

 3   with the Clerk of the Court for the United States Court of for the Northern District of California
 4
     by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will
 5
     be accomplished by the CM/ECF system.
 6
 7                                                        By: /s/ Christina Greer
                                                              CHRISTINA GREER
 8                                                            Senior Litigation Counsel
                                                              United States Department of Justice
 9                                                            Civil Division
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     Pangea Legal Services v. DHS, No. 3:20-cv-7721-SI
